 Case 8:17-cv-00460-JLS-KES Document 14 Filed 03/23/18 Page 1 of 3 Page ID #:72




       ~A~'IER BF~ER~.A
       ~.ttoi-ne~}~ General of C~liFt~ri~ia                                   DISTRICT COURT
       JACQLIFLINE DALE.
       Superv~5i~1g De uty Attorney GEneral
  3    1~AVII~ A. EL~GATOR                                                MAR 23 2018
       Deputy Attonl~y General
 4     California State Bar No. 17?69U
               ASS Golden Gate Ave., Stiute I l OQ0
 5             San Francisco,{;alifornia 94102
               Tel:(415 703-2982
  h            Fak.(41~} 7Q3-54$0
               Ezn~i(: I7avid,~Iigator czdoj.ca.gov
 7
       l~tf~rney~ for the P~aple ofthe State of C~lifornici
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                                  U:~IITED ST~ITES DISTRICT CIJURT
1Q
                         FOR THE CENTRt~L DISTRICT OF CALIrORl~IIA
11
                                        SOUTI-3~RN DIVISI(JN
12 '
   -C.JNIT`ED STA"I'ES QF AMERICA,                    No. SACV 17-00460 JLS(KES~)
13 AND TI-~E PEOPLE(~F THE STAVE
   ~F CATIFORNIA, ~x gel.PAUL                                        ORDER ~,ELECTIUN
14 IaA1,IDA,                                            Y THE IT,~. ~'ED STATES t~NNF~ THE
                                                      PEQPLE OF THE STATF t`~F
15                 Plaintiffs,                        CALIFORNI~4 TQ DE~L;ihTE
                                                      INT~R~EN"I~IUi~T AMID UNSEALING OF
16                        v.                          CASE
17 ~ DHS COh1SULTZNG,INC.,
18                 Defei~d~zit.
                                                      ~§~FII,EI3 Ui'~DER SEAL 1'URSU~N'~'TQ
                                                          HE FALSE CLAMS ACT,3~ U.S,C.
                                                           373~(h}(2) AND (3}]
19                                                    [FILED CONCURhEI~iTLI~ UNI?ER
                                                      SEA.I,: NOTICE OE ELECTIQN BY THE
_?Q                                                   PEOPLE OF~STATE OF
                                                      CALIFaRNtA_ TO DECLINE
2i                                                    Iir1TERVEI~TTI~i*~T AND STIPULATICIN
                                                      R~ UNSEALING 4F CASE]
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 Case 8:17-cv-00460-JLS-KES Document 14 Filed 03/23/18 Page 2 of 3 Page ID #:73




      J           T~~~ Llnitcd Mates ~~'~~me~~xc~ ("C?n~t~cl Stites"~ end the Pcc~~l~ c~~~hc~ State cif
           Califon~ia {"California") ha~~ing decl~inecl to inte7~vene in the ~bo~~~-captioned aetian
           ~"tl~~~ action"} ~urs~rant to 3] U.S.G. ~ 373~(b}(4)(~3) and Gal. Gov. Code ~ 1 ~,652(~)(G},
  4 ; and the United States, California, and qui fain pl~intiFfPaul Dalida (tile "ielatox") having
  5        stipulated to the un~ealin~ ofthe ease with certain eY~eptions, the Co~~~-t no~v orders as
  6 fc~llaws.
  7 ~1
           IT IS OT~DEREI? that:
  8 1            1.      Tire s~~1 is lifted l~-oin this action in all respects, ~,~cept as specified i~
  9 C Parag~•aph 3 below. Thy Complaint is unseal.ecl and the relator sha11 serve iti upon the
 10 ,' !~ d.~f~ndar~t;
 11              2.      This order,the I~~~fice ofElection by California to T7ecline Inter~.~ention anrt
12        Stzpul.arion ~e Unsealing of Case, az~d ~he~ Notice of ~1eGfiian by the United States to
13        C7ecl ne ~nt~~-~~ention ~~~~ unsealed, anc~ the relator steal] ser~.~e fhe~n upon the defendant
~4        ~~ith the Complac~t;
15               3.      ~ll other contents of the Cat~rt'~ file in this ac~io~,f~~d end 1~d~ed fo date,
IE        shah ~~ern~in pertn~nentl~r u7lder seal at~d shall not be made public or served upon any
17        d~fenda~lt or other party fir person,
18               ~.      The seal is lifted. as to all ~apei-s and recc~r~ls fled o~: lodged in fhrs action.
I9        after tie date ofthis Order;
20               5.      The pas-~ie~ shall serve aI1 ple~ading~, notices, motions, orders, and other
21.       papers hezeafter filed or Ioclg~d it7 this action., including supporting memoranda and any
22 4 notice of appeal, upon the CJniteci States and Galifr►z-nia as pro4~ided for in 31 U.S.C.
~;     3 73Q(c)(3} and Cal. ~aov. Code ~ 12Ei_52(f~(1);
~~               6.      Sho~.~ld t11~ relator ar defendarsr propose t~iat tl~~~ action be dismissed,
~~ iI~ settled, car
                c~ r~the~-~rise c~.iscontintaed, the parties shill provide the United. States and
~6 ' 1//
27        / //
~g        111
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 Case 8:17-cv-00460-JLS-KES Document 14 Filed 03/23/18 Page 3 of 3 Page ID #:74




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         California «it~h ~n oppvrt~inity t~ be he,~rd before ruling o~• ~z~nt~ing iCs appi-~val.
 3              IT IS SO ORI~FRFD.


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